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                       UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 MICHAEL RYAN,

                     Plaintiff,

        v.
                                                 Case No. 3:21-cv-01452
 ZWICKER & ASSOCIATES, PC,

                     Defendants.




      NOW COMES, MICHAEL RYAN, through his undersigned counsel, complaining of

ZWICKER AND ASSOCIATEDS, PC (“Defendant”) as follows:

                                   NATURE OF THE ACTION

       1.        Plaintiff brings this action seeking redress for Defendant’s violations of the Fair

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and the Texas Debt Collection

Act (“TDCA”), Tex. Fin. Code Ann. §392 et seq.

                                   JURISDICTION AND VENUE

       2.        This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

       3.        This Court has supplemental jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1367.

       4.        Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                               PARTIES

       5.        MICHAEL RYAN (“Plaintiff”) is a natural person, over 18-years-of-age, who at

all times relevant resided in Dallas, Texas.

       6.        Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
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          7.       Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. §392.001(1).

          8.       ZWICKER & ASSOCIATES, PC (“Defendant”) has “provided recovery

management services since 1991.”1

          9.       Defendant maintains its principal place of business at 80 Minuteman Road,

Andover, Massachusetts 01810.

          10.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6) because it

regularly collect debts owed to third parties.

          11.      Defendant is a “debt collector” as defined by Tex. Fin. Code Ann. §392.001(6)

because it directly or indirectly engages in debt collection.

                                         FACTUAL ALLEGATIONS

          12.      In or around November of 2020, Plaintiff started to receive collection calls from

Defendant attempting to collect on an alleged American Express debt (“subject debt”).

          13.      Plaintiff advised Defendant that he has never had an American Express account.

          14.      During this same phone call, Plaintiff requested that Defendant stop calling him.

          15.      The subject debt is a “debt” as defined by 15 U.S.C. § 1692a(5).

          16.      The subject debt is a “debt” as defined by defined by Tex. Fin. Code Ann. §

392.001(6).

          17.      Unfortunately, Defendant continued to place collection calls to Plaintiff despite (1)

his request that the calls cease and (2) his dispute that the subject debt belonged to him.

          18.      Defendant places collection calls to Plaintiff from phone numbers including, but

not limited to: (800) 363-3418 and (866) 291-6465.




1
    https://www.zwickerpc.com/services
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       19.     Since Defendant has made contact with Plaintiff, he has yet to receive anything via

United States Mail regarding the alleged subject debt.

       20.     Defendant has placed approximately 30 unwanted and unconsented to phone calls

to Plaintiff’s cellular phone since Plaintiff requested that the phone calls cease.

       21.     The FDCPA thus gives debtors a right to receive accurate information, which they

can enforce against debt collectors by brining suit under the FDCPA. See Hahn v. Triumph P'ships

LLC, 557 F.3d 755, 757 (7th Cir. 2009) ("The [FDCPA] is designed to provide information that

helps consumers to choose intelligently ... .").

       22.     Concerned with Defendant’s abusive practices, specifically the non-stop collection

calls, and attempts to have a debt collected that he did not owe, Plaintiff retained counsel to stop

Defendant’s behavior.



                                     CLAIMS FOR RELIEF

                                         COUNT I:
                 Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)

       23.     All Paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

                     a. Violation(s) of 15 U.S.C. §1692c

       24.     Section 1692c(a) of the FDCPA provides:

               Without the prior consent of the consumer given directly to the debt
               collector or the express permission of a court of competent jurisdiction, a
               debt collector may not communicate with a consumer in connection with
               the collection of any debt-

               (1)      at any unusual time or place or a time or place known or which
                        should be known to be inconvenient to the consumer. . .
                        15 U.S.C. § 1692c(a)(1).
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       25.     Despite being notified that its collection calls were unwanted, Defendant made the

conscious decision to continue its harassing phone calls, which were clearly inconvenient to

Plaintiff.


       26.     Defendant violated § 1692c(a)(1) by placing at least 30 collection calls to Plaintiff’s

cellular phone number at a time Defendant knew to be inconvenient for Plaintiff.


       27.     In other words, since Plaintiff did not want any calls from Defendant, any call

placed after the cease request was known by Defendant to be an inconvenient time for Plaintiff.


                   b. Violation(s) of 15 U.S.C. §1692d

       28.     Pursuant to § 1692d of the FDCPA, a debt collector is prohibited from engaging

“in any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” 15 U.S.C. §1692d

       29.     Section 1692d(5) of the FDCPA prohibits a debt collector from “causing a

telephone to ring or engaging any person in telephone conversation repeatedly or continuously

with intent to annoy, abuse, or harass any person at the called number.” 15 U.S.C. §1692d(5)

       30.     Defendant violated §§ 1692d and d(5) by placing at least 30 collection calls to

Plaintiff’s cellular phone number in an attempt to collect the subject debt after being requested to

cease the unwanted calls.

       31.     Defendant’s conduct in systematically placing unwanted calls to Plaintiff’s cellular

phone number is inherently harassing and abusive.

       32.     Defendant’s collection calls to Plaintiff were made with the specific intent of

annoying, harassing, and abusing Plaintiff as Plaintiff informed Defendant he no longer wished to

be contacted on his cellular telephone.
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      33.      The fact that Defendant knowingly placed calls to Plaintiff after Plaintiff made

requests that the calls cease is illustrative of Defendant’s intent to harass and annoy Plaintiff.


                   c. Violations of FDCPA §1692g


      34.      Pursuant to §1692g(a) of the FDCPA, a debt collector must send the consumer a

30-day validation notice informing the consumer of the right to dispute the validity of the debt

within five days of the initial communication with the consumer.

      35.      Section 1692g(b) of the FDCPA provides:

               If the consumer notifies the debt collector in writing within the thirty-day period
               described in subsection (a) that the debt, or any portion thereof, is disputed, or that
               the consumer requests the name and address of the original creditor,
               the debt collector shall cease collection of the debt, or any disputed portion
               thereof, until the debt collector obtains verification of the debt or a copy of a
               judgment, or the name and address of the original creditor, and a copy of such
               verification or judgment, or name and address of the original creditor, is mailed to
               the consumer by the debt collector. Collection activities and communications that
               do not otherwise violate this subchapter may continue during the 30-day period
               referred to in subsection (a) unless the consumer has notified the debt collector in
               writing that the debt, or any portion of the debt, is disputed or that
               the consumer requests the name and address of the original creditor. Any
               collection activities and communication during the 30-day period may not
               overshadow or be inconsistent with the disclosure of the consumer’s right to
               dispute the debt or request the name and address of the original creditor.
                        15 U.S.C. § 1692g(b).

      36.      Defendant violated 15 U.S.C. § 1692g(a) by failing to send a verification letter to

Plaintiff within 5 days of its initial communication with Plaintiff.


       37.     Defendant violated 15 U.S.C. § 1692g(b) by continuously contacting Plaintiff after

Plaintiff disputed that he owned and/or owed the subject debt.

       WHEREFORE, Plaintiff, MICHAEL RYAN, requests that this Honorable Court enter

judgment in his favor as follows:

       a.      Declaring that the practices complained of herein are unlawful and violate the Fair

               Debt Collection Practices Act;
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        b.      Awarding Plaintiff statutory and actual damages, in an amount to be determined at

                trial, for the underlying Fair Debt Collection Practices Act violations;

        c.      Awarding Plaintiff his costs and reasonable attorney’s fees pursuant to 15 U.S.C.

                §1692k; and

        d.      Awarding any other relief as this Honorable Court deems just and appropriate.



                                        COUNT II:
                 Texas Debt Collection Act (Tex. Fin. Code Ann. §392 et. seq.)

        38.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

though fully set forth herein.

        a.      Violations of Tex. Fin. Code Ann. §392.302(4)

        39.     Section 392.302(4) of the Texas Finance Code prohibits a debt collector from

oppressing, harassing, or abusing a person by “causing a telephone to ring repeatedly or

continuously, or making repeated or continuous telephone calls, with the intent to harass a person

at the called number.” Tex. Fin. Code Ann. § 392.302(4).

        40.     Defendant violated Tex. Fin. Code Ann. § 392.302(4) by continuously placing

collection calls to Plaintiff after Plaintiff requested that the phone calls cease.

        41.     According to Tex. Fin. Code Ann. §392.403, Plaintiff may sue for “(1) injunctive

relief to prevent or restrain a violation of this chapter; and (2) actual damages sustained as a result

of a violation of this chapter.” Tex. Fin. Code Ann. §§ 392.403(a)(1) and (a)(2).

        WHEREFORE, Plaintiff, MICHAEL RYAN, requests that this Honorable Court enter

judgment in his favor as follows:

        a.      Finding that Defendant violated Tex. Fin. Code Ann. § 392.302(4);
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       b.     Enjoining Defendant from further contact with Plaintiff pursuant to Tex. Fin. Code

              Ann. § 392.403(a)(1);

       c.     Awarding Plaintiff actual damages in an amount to be determined pursuant to Tex.

              Fin. Code Ann. § 392.403(a)(2);

       d.     Awarding Plaintiff reasonable attorney’s fees and costs in an amount to be

              determined pursuant to Tex. Fin. Code Ann. § 392.403(b); and

       e.     Awarding any other relief as this Honorable Court deems just and appropriate.

                                DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.



Dated: June 18, 2021                                         Respectfully submitted,

                                                             MICHAEL RYAN

                                                             By: /s/ Victor T. Metroff

                                                             Mohammed O. Badwan, Esq.
                                                             Victor T. Metroff, Esq.
                                                             Counsel for Plaintiff
                                                             Sulaiman Law Group, Ltd
                                                             2500 S. Highland Ave, Suite 200
                                                             Lombard, IL 60148
                                                             Telephone: (630) 575-8180
                                                             mbadwan@sulaimanlaw.com
                                                             vmetroff@sulaimanlaw.com
